Case 2:14-cv-00609-LMA-MBN Document 1-3 Filed 03/18/14 Page 1 of 25

UNITED STATES BANKRUPTCY COURT
EASTERN DISTRICT OF LOUISIANA

IN RE: '
' CASE NO. 08-12751
WADLEIGH ENERGY GROUP, INC.,! |
et al, '
' Chapter 11

Debtors. ' (Jointly Administered)
POST CONFIRMATION BOARD OF '
WADLEIGH ENERGY GROUP, INC. '
ET AL., as TRUSTEE OF THE '
WADLEIGH LITIGATION TRUST,

'
Plaintiff, '

¥58. '

' Adversary No. 10-01125
RALPH WADLEIGH, KRISTLAN '
WADLEIGH, MICHELLE WADLEIGH,
BLUEWATER EQUIPMENT RENTALS,
INC., and WADLEIGH STABLES, INC. ''

Defendants. '

FIRST AMENDED COMPLAINT

The Post Confirmation Board of Wadleigh Energy Group, Inc., et al., as the Trustee of
the Wadleigh Litigation Trust, files this First Amended Complaint (the “Complaint”) against the

following defendants (“Defendants”): Ralph Wadleigh (“RW”), Kristian Wadleigh (“KW”),

 

Michelle Wadleigh (“MW”), Bluewater Equipment Rentals, Inc. (“Bluewater”), Wadleigh

Stables, Inc. (“Stables”); and alleges as follows:

 

 
  
  

 

' Wadleigh and Associates, Inc. (“Associates”) (08-12753); Mega International, ine GN \
Harley Crane Services, Inc. (“Harley”) (08-12754) were jointly administered with ‘SUA
(individually, “Group”; collectively, the “Debtors”) pursuant to an order of the Bankruptcy. AS ACTRUE

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UNITED STATES BANKRUPTCY. COURT
EASTERN DISTRICT OF LOUISIANA

 
Case 2:14-cv-00609-LMA-MBN Document 1-3 Filed 03/18/14 Page 2 of 25

I, Introduction
1. On November 12, 2008, the Debtors filed voluntary petitions for relief under
Chapter 11 of Title 11 of the United States Code, 11 U.S.C. §§ 101 ef seg. (the “Bankruptcy
Code”) in the Bankruptcy Court of the United States District Courts of the Eastern District of

Louisiana. The Debtors’ individual bankruptcy cases are collectively referred to as the

‘Bankruptcy Cases”.

2. This adversary proceeding against the Defendants is brought under Fed. R. Bankr.

P. 7001.
IE. Jurisdiction and Venue
3. This Court has jurisdiction over this adversary proceeding pursuant to 28 U.S.C.

§§ 157(a) and 1334(a). This adversary proceeding is a core proceeding pursuant to 28 U.S.C, §

157(b}(2)(E) and (H).
4, Venue of this adversary proceeding is proper in this district pursuant to 28 U.S.C.
§ 1409.
Ill. Parties
5. The plaintiff is the Debtors’ Post Confirmation Board, in its capacity as Trustee

(the “Trustee”) for the Wadleigh Litigation Trust (the “Trust”), which was formed and
authorized by Debtors’ Amended Plan of Reorganization as of August 13, 2010 (the “Confirmed
Plan”) [D.I. 520] and the Order Confirming Chapter 11 Amended Plan of Reorganization as of
August 13, 2010 (the “Confirmation Order”) [D.I. 524]. Under the Confirmed Pian, all Causes
of Action and Retained Causes of Action (as those terms are defined therein} were transferred to
the Trust as of the effective date of the Confirmed Plan, to be pursued by the Trustee, as a

representative of the Debtors’ estates under 11 U.S.C. § 1123(b)(3){B), for the benefit of holders
Case 2:14-cv-00609-LMA-MBN Document 1-3 Filed 03/18/14 Page 3 of 25

of allowed claims. The effective date of the Confirmed Plan was September i, 2010. See the
Notice of Effective Date [D.I. 528].

6. The Debtors are an affiliated group of companies that perform services and rent
equipment in the oil field services business [See Confirmed Plan at 26]. The business of the
Debtors is managed almost entirely by RW [See Confirmed Plan at 27].

7. RW owns the following equity interests in the Debtors: 100% of Group, 100% of
Mega, 50.5% of Associates, and 100% of Harley [See Confirmed Plan at 27-28]. RW is also a
director of Bluewater and the registered agent, president and sole director of Stables.

8. KW is the son of RW and is the president of three of the Debtors: Group, Harley,
and Mega, KW is also a director of Bluewater.

9. MW is the ex-wife of RW.

10. Bluewater is a Louisiana corporation. RW and KW are the directors of Bluewater
and KW is Bluewater’s registered agent. Upon information and belief, RW owns a controlling
interest in Bluewater.

11. Stables is a Louisiana corporation. RW is the registered agent of Stables, as well
as the president and sole director. Upon information and belief, RW owns a controlling interest
in Stables.

12. Each of the Defendants is, on information and belief, an insider of the Debtors as
that term is defined in 11 U.S.C. § 101(31).

IV. Background Facts

13. The Defendants received numerous avoidable transfers (the “Transfers”) from the

Debtors pre-petition and post-petition as described in further detail below.

14, Each Transfer constituted a transfer of an interest of property of the Debtors.
Case 2:14-cv-00609-LMA-MBN Document 1-3 Filed 03/18/14 Page 4 of 25

15. Each Transfer was made, or caused to be made, to or for the benefit of the
Defendants, each of whom is an insider of the Debtors.

16. Upon information and belief, each Transfer was a “gratuitous” transfer under
Louisiana law.

17. Upon information and belief, the Defendants are also the recipients of other
transfers of an interest in property of the Debtors which are subject to avoidance, but which are
not described below as the Transfers.

A. The Bluewater Transfers

18. Between November 24, 2008 and August 20, 2009, the Debtors transferred
$879,117.50 to Bluewater (the “Bluewater Transfers”). The summary attached hereto and
incorporated herein as Exhibit “A” (the “Bluewater Summary”) details the dates, check numbers
and amounts of the Bluewater Transfers.

19. Bluewater subsequently transferred the proceeds of the Bluewater Transfers to
RW, KW and Stables.

20. The Bluewater Summary traces the individual Bluewater Transfers which were
subsequently transferred to RW, KW and Stables.

21. Bluewater transferred $563,176.19 of the Bluewater Transfers to RW.

22. Bluewater transferred $100,000.00 of the Bluewater Transfers to KW.

23. Bluewater transferred $218,441.31 of the Bluewater Transfers to Stables.

B. The Credit Card Transfers

24. Between May 3, 2008 and July 28, 2009, RW incurred $217,301.48 in charges on

an American Express credit card (the “RW Credit Card Charges”). The summary attached

hereto and incorporated herein as Exhibit “B” (the “RW_Credit Card Summary”) details the

 
 

Case 2:14-cv-00609-LMA-MBN Document 1-3 Filed 03/18/14 Page 5 of 25

dates, descriptions, locations and amounts of the RW Credit Card Charges. On information and
belief, the RW Credit Card Charges were personal expenses, and not business expenses of the
Debtors.

25. The Debtors paid the RW Credit Card Charges (the “RW Credit Card Transfers”)
detailed on the RW Credit Card Summary.

26. Between December 5, 2007 and July 7, 2009, KW incurred $54,852.98 in
personal charges on an American Express credit card (the “KW_Credit Card Charges”). The
summary attached hereto and incorporated herein as Exhibit “C” (the “KW_ Credit Card
Summary”) details the dates, descriptions, locations and amounts of the KW Credit Card
Charges. On information and belief, the RW Credit Card Charges were personal expenses, and
not business expenses of the Debtors.

27, The Debtors paid the KW Credit Card Charges (the “KW Credit Card Transfers”)
detailed on the KW Credit Card Summary.

28. Between August 18, 2008 and October 24, 2008, Debtors paid $110,405.39 {the
“MW Credit Card Transfers”) for MW’s personal charges on an American Express credit card
(the “MW _Credit Card Charges”). The summary attached hereto and incorporated herein as
Exhibit “D” (the “MW _Credit Card Summary”) provides some details on the MW Credit Card
Transfers.

Cc. The Advances to RW and Bluewater

29. RW withdrew funds from the Debtors on numerous occasions for deposit in RW’s
accounts or for RW’s personal use (the “RW Advances”).

30. As of September 30, 2010, the RW Advances include, as reflected on the books

and records of the Debtors, $3,205,283.35 owed to Group, $1,438,784.70 owed to Mega,

 
 

Case 2:14-cv-00609-LMA-MBN Document 1-3 Filed 03/18/14 Page 6 of 25

$608,999.10 owed to Harley and $98,553.09 owed to Associates. As of September 30, 2010, the
Debtors had advanced $1,668,350.31 to Bluewater (the “Bluewater Advances”), which may have
been, on information and belief, for personal use.

D. The MW Distributions

31. Between January 9, 2008 and October 3, 2008, the Debtors made a series of
transfers to MW totaling at least $57,875.26 (the “MW _ Distributions”). The summary attached
hereto and incorporated herein as Exhibit “E” (the “Distribution Summary”) details the dates
and amounts of the MW Distributions.

E. The Stables Distributions

32. Between January 9, 2008 and November 3, 2008, the Debtors made a series of
transfers to Stables totaling at least $187,376.47 (the “Stables Distributions”). The Distribution
Summary details the dates and amounts of the Stables Distributions.

F, The Additional Transfers

33. Between November 12, 2007 and November 3, 2008, the Debtors made additional
avoidable transfers described on the Distribution Summary, on the General Ledger attached
hereto as Exhibit “F,” and on the Debtors’ Statements of Financial Affairs (the “Additional
Transfers”),

34. To the extent the Additional Transfers have been made to or for the benefit of any
of the Defendants, the Trustee seeks to recover such Additional Transfers. Specifically and
without limitation, on information and belief, the Additional Transfers listed on the first nine
pages of Exhibit “F” (totaling $1,475,221.84) were made to or for the benefit of RW, in addition
to for the benefit of the listed entities (which includes the specific entries set forth for Defendants

MW and Stables). Specifically and without limitation, on information and belief, the Additional

 
Case 2:14-cv-00609-LMA-MBN Document 1-3 Filed 03/18/14 Page 7 of 25

Transfers listed on the last page of Exhibit “F” (totaling $269,390.22) were made to or for the
benefit of KW.

35. The Trustee additionally reserves the right to amend this Complaint to avoid any
other transfers to the Defendants or any other party as further discovery or analysis demonstrate
that such transfers are avoidable.

36. The Transfers that are the subject of this Complaint include without limitation the
Bluewater Transfers, RW Credit Card Transfers, KW Credit Card Transfers, MW Credit Card
Transfers, RW Advances, Bluewater Advances, MW Distributions, Stables Distributions, and
Additional Transfers.

G. The Mazuma Claim and Mazuma Claim Order

37. On or about December 4, 2006, Bluewater entered into Master Lease Agreement
No. MCC0945 (including any and all amendments, the “Lease”) with Mazuma Capital Corp.
(“Mazuma”). A copy of the Lease is attached as Exhibit “G” hereto.

38. On or about December 4, 2006, RW and MW executed a written guaranty of all
of Bluewater’s obligations under the Lease (the “RW/MW Guaranty”). A copy of the RW/MW
Guaranty is attached as Exhibit “H” hereto.

39, On or about December 4, 2006, Group executed a written guaranty of all of
Bluewater’s obligations under the Lease (the “Group Guaranty”). A copy of the Group Guaranty
is attached as Exhibit “I” hereto. On or about December 4, 2006, Mega executed a written
guaranty of all of Bluewater’s obligations under the Lease (the “Mega Guaranty”). A copy of
the Mega Guaranty is attached as Exhibit “J” hereto. On or about December 4, 2006, Harley
executed a written guaranty of all of Bluewater’s obligations under the Lease (the “Harley

Guaranty”). A copy of the Group Guaranty is attached as Exhibit “K” hereto. On or about

 
Case 2:14-cv-00609-LMA-MBN Document 1-3 Filed 03/18/14 Page 8 of 25

December 4, 2006, Associates executed a written guaranty of all of Bluewater’s obligations
under the Lease (the “Associates Guaranty”). A copy of the Group Guaranty is attached as
Exhibit “L” hereto.

40. Pursuant to the RW/MW Guaranty, a surety and/or guarantor relationship was
created with RW and MW as the sureties and guarantors, Mazuma as the creditor and Bluewater
as principal obligor.

41. Pursuant to the Group Guaranty, Mega Guaranty, Harley Guaranty, and
Associates Guaranty, a surety relationship was created with Group, Mega, Harley, and
Associates as the sureties and guarantors, Mazuma as the creditor and Bluewater as principal
obligor.

42. The principal cause of the RW/MW Guaranty and the Group Guaranty, Mega
Guaranty, Harley Guaranty, and Associates Guaranty, is to guarantee performance of the Lease.

43. Bluewater breached the Lease by failing to pay amounts due under the Lease.

44. RW and MW breached the RW/MW Guaranty by failing to pay amounts due.

45. | Mazuma filed suit against Bluewater for breach of the Lease and against RW for
breach of the RW/MW Guaranty, in the United States District Court for the District of Utah,
commencing case number 2:08-cv-000538-DB (the “Utah Case”).

46. On October 28, 2009, Mazuma obtained a judgment (the “Utah Judgment”) in the
Utah Case (See Exhibit “M”):

a. against RW and Bluewater jointly and severally in the amount of
$578,714.46 at a rate of 18% per annum from July 22, 2008, until that sum
is paid;

b. against RW and Bluewater jointly and severally for all amounts due under
the Lease in the sum of $1,055,400.12 for future monthly payments during
the base period, discounted at 7% per annum, plus interest on

$1,055,400.12 at a rate of 18% per annum from July 22, 2008, until that
sum is paid;

 
Case 2:14-cv-00609-LMA-MBN Document 1-3 Filed 03/18/14 Page 9 of 25

¢. for attorneys fees and costs in the amount of $28,818.26, plus attorneys
fees and costs incurred in collecting on the judgment.

47. Mazuma has asserted a claim (“Mazuma Claim”) against Group and the other
Debtors in the above-captioned main bankruptcy case through the following: On September 30,
2009, Mazuma filed a Proof of Claim in the above-captioned main bankruptcy case to assert a
claim in the total amount of $1,781,942.90 (plus interest, attorney’s fees, and costs of collection,
but less the sum of $36,000.00) against Group and the other Debtors in the above-captioned
bankruptcy case, for amounts due under the Group Guaranty, Mega Guaranty, Harley Guaranty,
and Associates Guaranty in connection with the Utah Judgment, Bluewater’s breach of the
Lease, and RW’s and MW’s breach of the RW/MW Guaranty. On March 11, 2011, Mazuma
amended its proof of claim to $1,816,839.77.

48. On February 25, 2011, the Debtors filed a Claim Objection (“Claim Objection”)
objecting to the Mazuma Claim.

49. The Debtors, the Trustee, and Mazuma later settled the Claim Objection through
the Bankruptcy Court’s entry of the agreed Order Regarding Objection to Proof ef Claim of
Mazuma Capital Corporation, (a) liquidating Mazuma’s claim for breach of the Lease under the
Group Guaranty and (b) allowing such claim against the Debtors jointly and severally in the
amount of $1,371,879.43 (the “Mazuma Claim Order”), entered on September 16, 2011 [Docket
#680); which fixed the Mazuma Claim in the amount of $1,371,879.43.

IV. Claims for Relief
Count 1: Fraudulent Transfers Pursuant to 11 U.S.C. § 548
50. Paragraphs 1 through 49 are incorporated by reference as if fully set forth herein.
31. Pursuant to 11 U.S.C. § 548, the Trustee seeks to avoid those Transfers made on

or within two years before the Petition Date (the “Pre-Petition Transfers”).

 
Case 2:14-cv-00609-LMA-MBN Document 1-3 Filed 03/18/14 Page 10 of 25

52. The Debtors made the Pre-Petition Transfers with actual intent to hinder, delay or
defraud their existing and future creditors.

53. The Debtors received less than reasonably equivalent value for the Pre-Petition
Transfers.

54. The Debtors were insolvent on the dates of the Pre-Petition Transfers or became
insolvent as a result of the Pre-Petition Transfers.

55. The Debtors were engaged in a business or transaction for which the Debtors’
respective remaining property was an unreasonably small capital.

56. The Debtors intended to incur or believed they would incur debts beyond their
respective abilities to pay as such debts matured.

37. The Debtors made the Pre-Petition Transfers to or for the benefit of insiders (the

Defendants).

Count 2: Preferential Transfers Pursuant to 11 U.S.C. § 547
58. Paragraphs 1 through 57 are incorporated by reference as if fully set forth herein.

39. Section 547(b) of the Bankruptcy Code provides, in pertinent part, that:

{The trustee may avoid any transfer of an interest of the debtor in
property—
(1) to or for the benefit of a creditor;
(2) for or on account of an antecedent debt owed by the debtor
before such transfer was made;
3) made while the debtor was insolvent;
(4) made —
(A) on or within 90 days before the date of the filing of the
petition; or
(B) between ninety days and one year before the date of the
filing of the petition, if such creditor at the time of such
transfer was an insider; and
(5) that enables such creditor to receive more than such creditor
would receive if—
(A) the case were a case under Chapter 7 of this title;
(B) the transfer had not been made; and

10

 
 

Case 2:14-cv-00609-LMA-MBN Document 1-3 Filed 03/18/14 Page 11 of 25

(C)} such creditor received payment of such debt to the
extent provided by the provisions of this title.

60. During the year prior to the Petition Date, that is, between November 12, 2007
and November 12, 2008 (the “Preference Period”), the Debtors transferred, and/or caused to be
transferred, property to the Defendants in the form of multiple payments including those
described above as the Transfers.

61. To the extent that any of the Transfers was on account of an antecedent debt owed
by the Debtors to the Defendants prior to the date on which such Transfers were made, the
Trustee is thus entitled to avoid such Transfers pursuant to 11 U.S.C. § 547(b).

62. During the Preference Period, the Debtors may have been insolvent within the
meaning of the Bankruptcy Code (i.e. the sum of their debts were greater than the fair value of
the assets). Furthermore, a debtor is presumed to have been insolvent during the Preference
Period. See 11 USC. § 547(f). In addition, the Summary of Schedules filed by the Debtors list
liabilities far in excess of their assets.

63. The Transfers enabled the Defendants to receive more than they would have
received if these Bankruptcy Cases were cases under Chapter 7 of the Bankruptcy Code, the
Transfers had not been made, and the Defendants received payment of the debts relating to the
Transfers to the extent provided by the provisions of the Bankruptcy Code. In this case, the
unsecured creditors may not receive a dividend equal to 100% of their allowed claims if all
payments under the Plan are not made. In all cases where unsecured creditors will not receive a
dividend equal to 100% of their allowed claims, 11 U.S.C. § 547(b)(5) is satisfied.

64. Pursuant to section 547(b) of the Bankruptcy Code, the Trustee may avoid the

Transfers made during the Preference Period on account of antecedent debt.
Count 3: Post-Petition Transfers Pursuant to 11 U.S.C, § 549

11

 
Case 2:14-cv-00609-LMA-MBN Document 1-3 Filed 03/18/14 Page 12 of 25

65. Paragraphs 1 through 64 are incorporated by reference as if fully set forth herein.
66. Prior to confirmation, the Debtors made the following post-petition transfers (the
““Post-Petition Transfers”) totaling at least $1,313,720.46:
a. The Bluewater Transfers;
b. RW Credit Card Transfers; and
c. a portion of the KW Credit Card Transfers (totaling $28,206.72).
67. Upon information and belief, the Post-petition Transfers were not authorized by
the Bankruptcy Code or this Court.
68. Pursuant to section 549(a) of the Bankruptcy Code, the Trustee may avoid the
Post-petition Transfers.
Count 4: Recovery of Transfers Pursuant to 11 U.S.C. § 550
69. Paragraphs | through 68 are incorporated by reference as if fully set forth herein.
70. The Defendants are the initial transferees of the funds transferred. In the
alternative, the Defendants are the immediate or mediate transferees of such initial transferee.
71. — Pursuant to section 550(a) of the Bankruptcy Code, the Trustee may recover the
Transfers, or the value of the Transfers, from the Defendants.
Count 5: Turnover; Bankruptcy Code Section 542(b)
72. Paragraphs | through 71 are incorporated by reference as if fully set forth herein.
73. Defendants owe the Debtors amounts that they withdrew from the Debtors,
including, without limitation, the amounts of the Transfers, which are all assets of the estate
pursuant to Section 541(a)(1) of the Bankruptcy Code.
74. Pursuant to Section 542(b), the amounts withdrawn from the Debtors, including,

without limitation, the amounts of the Transfers, all constitute debts to the estate that are

matured, payable on demand or payable on order, and Defendants should be ordered to repay

12
Case 2:14-cv-00609-LMA-MBN Document 1-3 Filed 03/18/14 Page 13 of 25

such amounts as turnover to the Trustee.
Count 6: Bankruptcy Code Section 544(b)

75. Paragraphs 1 through 74 are incorporated by reference as if fully set forth herein.
Defendants.

76. To the extent that the claims herein arise pursuant to 11 U.S.C, §544(b), the
Trustee is asserting the rights of creditors with unsecured claims allowable in the bankruptcy
case, who were creditors at the time of the Transfers and/or became creditors after the Transfers,
and who could avoid the Transfers under the Louisiana Revocatory Action and fraudulent
transfer laws, and other applicable state law.

Count 7; Equitable Subordination Pursuant to 11 U.S.C, § 510(c)
77, Paragraphs 1 through 76 are incorporated by reference as if fully set forth herein.
78. Section 510(c) of the Bankruptcy Code provides for equitable subordination:

Notwithstanding subsections (a) and (b) of this section, after notice and a hearing,
the court may—

(1) —_under principles of equitable subordination, subordinate for purposes of
distribution all or part of an allowed claim to all or part of another allowed
claim or all or part of an allowed interest to all or part of another allowed

(2) order that any lien securing such a subordinated claim be transferred to the
estate.

79, To the extent that the Defendants have filed proofs of claim or asserted claims,
such claims should be equitably subordinated to ali other allowed claims.

80. To the extent that the Defendants have liens against any of the Debtors’ assets,
such liens securing such subordinated claims should be transferred to the Debtors’ estates.

Count 8: Breach of Duties of Trustee by the Directors and Officers of the Debtors-in-

Possession Pursuant to 11 U.S.C. §§ 704, 1106 and 1107
81. Paragraphs 1 through 80 are incorporated by reference as if fully set forth herein.

13

 
Case 2:14-cv-00609-LMA-MBN Document 1-3 Filed 03/18/14 Page 14 of 25

82. Directors and officers of a debtor in possession owe the same fiduciary duties as a
trustee in bankruptcy, as set out in 11 U.S.C. §§ 704, 1106 and 1107.

83. KW and RW breached the following trust fund duties by failing to maximize the
current value for creditors and shareholders, effecting or causing the Debtors to effect the Post-
Petition Transfers for their own personal benefit (or that of their family members and other
interests), and making the Post-Petition Transfers in violation of 11 U.S.C. § 549.

84. Pursuant to 11 U.S.C. §§ 704, 1106 and 1107, the Trustee is entitled to recover
from KW and RW for the damages caused by such post-petition breaches of fiduciary duties.
Count 9: Breach of Fiduciary Duty Pursuant to State Law

85. Paragraphs | through 84 are incorporated by reference as if fully set forth herein.

86. The Defendants each owed a fiduciary duty to the Debtors.

87. The Defendants breached their fiduciary duties owed to the Debtors.

88. The Defendants each participated in the intentional breach of fiduciary duties .
owed to the Debtors.

89. The Defendants each acted outside the limits of their authority with respect to the
Debtors.

90. The Defendants each defrauded the Debtors by taking their respective Transfers
from the Debtors.

91. The Defendants thereby each intentionally breached the trust of the Debtors or
knowingly participated in the breach of trust of the Debtors.

92. The Debtors suffered damages by the Defendants’ breaches of fiduciary duties to

the Debtors.

93. The Trustee is entitled to recover damages from each of the Defendants for breach

14

 
Case 2:14-cv-00609-LMA-MBN Document 1-3 Filed 03/18/14 Page 15 of 25

of fiduciary duty, including attorneys fees and costs.
Count 10; Unjust Enrichment Pursuant to State Law

94. Paragraphs 1 through 93 are incorporated by reference as if fully set forth herein.

95. The Defendants were enriched by the Transfers.

96. The Debtors were impoverished by the Transfers.

97. The Defendants’ enrichment by the Transfers corresponds directly to the
impoverishment of the Debtors.

98. No justification or cause exists for the Defendants’ enrichment or the Debtors’
impoverishment.

99. In the absence of any other remedy at law, the Trustee is entitled to recover
damages to the extent that the Defendants were unjustly enriched.

Count 11: Fraud Pursuant to State Law

 

100, Paragraphs 1 through 99 are incorporated by reference as if fully set forth herein.

101. The Defendants each defrauded the Debtors and the Debtors’ creditors by taking
their respective Transfers from the Debtors for no consideration.

102, The Debtors suffered damages by the Defendants’ fraudulent acts.

103. The Trustee is entitled to recover damages from each of the Defendants for fraud,
including attorneys fees and costs.

104, Pursuant to La. C.C. arts. 1953 through 1957 and other applicable law, Trustee
asserts fraud on the part of Defendants.

105. On information and belief, Defendants caused Transfers to Bluewater, including
without limitation the Bluewater Transfers and Bluewater Advances, to be made to Bluewater

despite the fact that Bluewater had not rendered corresponding performance or value to the

15

 
Case 2:14-cv-00609-LMA-MBN Document 1-3 Filed 03/18/14 Page 16 of 25

Debtors. In addition, Defendants subsequently caused the monies transferred to Bluewater to be
transferred to personal accounts or otherwise were used for the personal benefit of Defendants.

106. On information and belief, the other Transfers were also fraudulent because their
true purpose and use was not disclosed. For example, the Credit Card Transfers were not made
for business expenses but were made, on information and belief, for personal expenses.

107. On information and belief, the Transfers were also fraudulent because when
made, Defendants had no intention of repaying or reimbursing the Debtors for such Transfers,
despite Defendants’ commitment to repay or reimburse some or all of the Transfers.

108, Defendants’ fraud induced the Debtors to make the Transfers to Defendants
because such Transfers were made under the false pretense that such transfers would be
eventually repaid, or under the faise pretense that such Transfers were business expenses or were
otherwise proper expenses.

109. Asa result of this fraud, the Trustee is entitled to recover its damages, losses, and

attorney’s fees.

Count 12: Single Business Enterprise / Piercing the Corporate Veil / “Reverse” Piercing of
the Corporate Veil

110. Paragraphs | through 109 are incorporated by reference as if fully set forth herein.

111. On information and belief, Bluewater, Wadleigh Stables, RW, KW and/or other
Defendants together constitute a single business enterprise under Louisiana law. On information
and belief, Bluewater and Wadleigh Stables are entities with an identity or substantial identity of
ownership, since, on information and belief, the same persons (RW) own both entities. These
same persons (RW, and potentially, KW) on information and belief, serve as the common
directors or officers of Bluewater and Wadleigh Stables.

112. On information and belief, Bluewater and Wadleigh Stables have unified or joint
16
Case 2:14-cv-00609-LMA-MBN Document 1-3 Filed 03/18/14 Page 17 of 25

administrative control and centralized accounting, and common employees.

113. On information and belief, Bluewater and Wadleigh Stables, and other entities
owned or controlled by RW, may have effectively financed each others’ operations (and may
have paid for expenses or losses of each; and one or both of Bluewater and Wadleigh Stables
may be inadequately capitalized. Some transfers between these entities may not have been
documented or fully documented.

114, On information and belief, there may be no clear allocation of profits and losses
between Bluewater and Wadleigh Stables.

115, Based on the foregoing, the Trustee is entitled to recover from each of the
individual Defendants for liabilities of the corporate Defendants under a single business
enterprise or veil piercing theory, and from each of the corporate Defendants for liabilities of the
individual Defendants under a single business enterprise or reverse veil piercing theory.

Count 13: Breach of Contract

116. Paragraphs 1 through 115 are incorporated by reference as if fully set forth herein.
To the extent that RW, KW, and/or any other Defendants had an employment contract or other
contract with one or more of the Debtors, the Trustee asserts that payment of the Bluewater
Transfers, Credit Card Transfers, RW Advances, Bluewater Advances, MW Advances, Stables
Distributions, and/or Additional Transfers and failure to repay same constitutes breach of
contract,

117. RW, KW, and/or other Defendants may have had employment or other
agreements with one or more of the Debtors (“Agreements”) governing, among other things,
advances or other sums withdrawn by RW, KW, and/or other Defendants from the Debtors.

118. The Debtors performed all of their obligations under the Agreements.

i7
Case 2:14-cv-00609-LMA-MBN Document 1-3 Filed 03/18/14 Page 18 of 25

119. The Debtors sustained losses when the Bluewater Transfers, Credit Card
Transfers, RW Advances, Bluewater Advances, MW Advances, Stables Distributions, and/or
Additional Transfers were made and not repaid to the Debtors; and on information and belief,
such losses were caused by Defendants’ failure to honor their obligations under the Agreements

to (i) repay such amounts or (ii) not make such Transfers in the first place.

Count 14: Recovery of Unlawful Distributions Under La. R.S, 12:92

120. Paragraphs | through 119 are incorporated by reference as if fully set forth herein.

121. The Trustee asserts that some or all of the Bluewater Transfers, Credit Card
Transfers, RW Advances, Bluewater Advances, MW Advances, Stables Distributions, and/or
Additional Transfers were unlawful distributions within the meaning of La. R.S. 12:92(D),
because such distributions were unlawful under, without limitation, La. R.S. 12:1 et seq., the
Bankruptcy Code, or other applicable law.

122. RW, and any other Defendants who may have been directors of the Debtors, on
information and belief, knowingly, or without the exercise of reasonable care and inquiry, voted
in favor or assented to the Transfers.

123. As aresult, RW and any other Defendants who may have been directors of the
Debtors are liable jointly and severally for repayment of the Transfers.

Count 15: Recovery of Unlawful Distributions Under La, R.S. 12:93

124. Paragraphs | through 123 are incorporated by reference as if fully set forth herein.

125. The Trustee asserts that some or all of the Transfers were unlawful distributions
within the meaning of La. R.S. 12:93(D), because such distributions were unlawful under,

without limitation, La, R.S. 12:1 et seq., the Bankruptcy Code, or other applicable law.

18
 

Case 2:14-cv-00609-LMA-MBN Document 1-3 Filed 03/18/14 Page 19 of 25

126. Asa result, RW and any other Defendants who may have been a shareholder of
the Debtors are liable for repayment of the Transfers received by them.
Count 16: Conversion Pursuant to State Law

127. Paragraphs | through 126 are incorporated by reference as if fully set forth herein.

128. The Defendants took their respective Transfers from the Debtors in derogation of
the Debtors’ possessory rights.

129. The Defendants had no right to use any of the Debtors’ assets for any purpose
other than to benefit the Debtors.

130. The Defendants wrongfully exercised or assumed authority over property of the
Debtors, including the funds identified as the Transfers.

131. The Debtors suffered damages thereby at least in the amount of the Transfers.

132, The Trustee is entitled to recover damages from the Defendants for conversion of

the funds identified as the Transfers.

Count 17: Repayment of Money Loaned or Advanced / Enforcement of Obligations Under
State Law

133. Paragraphs 1 through 132 are incorporated by reference as if fully set forth herein.

134. Defendants owe the Debtors, as a conventional or other obligation under
Louisiana law, all amounts withdrawn from the Debtors, including, without limitation, the
amounts of the Transfers.

135. Defendants have withdrawn such amounts as loans, advances or styled in some
other fashion, and Defendants have not repaid such amounts to the Debtors or the Trustees.

136. The amounts withdrawn from the Debtors, including, without limitation, the
amounts of the Transfers all constitute obligations to the estate that are matured, payable on

demand or payable on order, and Defendants are liable to repay such amounts as conventional or

19

 
Case 2:14-cv-00609-LMA-MBN Document 1-3 Filed 03/18/14 Page 20 of 25

other obligations under Louisiana law.

Count 18: Revocatory Action
137, Paragraphs | through 136 are incorporated by reference as if fully set forth herein.

138. Pursuant to La. Civil Code arts. 2036 through 2042, the Trustee brings a
revocatory action to annul certain acts of Defendants.

139. The Trustee seeks to annul any and all acts that were made by Defendants that
caused or increased Defendant’s insolvency, including without limitation the Bluewater
Transfers and Bluewater Advances, in which funds transferred to Bluewater from the Debtors
were subsequently withdrawn, on information and belief, for the personal use of RW, KW,

and/or other Defendants (such transfers from Bluewater and/or other Defendants being the

oe

Subsequent Transfers”).

140. Each of the Subsequent Transfers were made after the rights of the Debtors as
obligees arose, since such transfers were made subsequent to the funds being withdrawn from the
Debtors’ accounts.

141. Each of the Subsequent Transfers had the effect of causing or increasing the
transferor’s insolvency. Specifically, on information and belief, the Subsequent Transfers were
entirely gratuitous and were for no consideration; therefore, in such transfers.

142. The Trust was not created until the Confirmed Pian was entered by Court order as
of August 13, 2010, and therefore the Trust could not have learned of the occurrence of the
Subsequent Transfers until at least that date. On information and belief, the Subsequent
Transfers were not discovered until a point in time less than one year before the filing of the
original Complaint.

Count 19: Waste, Negligence and Gross Negligence
143. Paragraphs 1 through 142 are incorporated by reference as if fully set forth herein.

20

 
Case 2:14-cv-00609-LMA-MBN Document 1-3 Filed 03/18/14 Page 21 of 25

144. The Debtors’ directors and officers owed a duty of reasonable prudence to the
Debtors. As previously alleged, KW and RW acted negligently in their management of the
Debtors’ business, These Defendants’ indifference to their corporate responsibilities as
previously alleged resulted in mismanagement of the Debtors and waste of their assets. These
Defendants’ negligence caused substantial damages to the Debtors, their creditors and
shareholders, for which the Trustee now sues. These Defendants were negligent by failing to
take the actions necessary to protect assets and by committing or permitting a wasting of
corporate assets by allowing the Debtors to make the Transfers when there were means available
to prevent the Transfers and maximize the value of the assets for the Debtors.

145. Before and after the Petition Date, KW and RW were negligent in not performing
(as described above) by:

a. Not protecting the Debtors from adverse acts caused by KW, RW or other parties;

b. Not otherwise preserving or maximizing the current value of the Debtors for the
creditors;

c. Allowing the Debtors to pay the personal expenses of the Defendants and make
the Transfers;

d. Allowing the officers and directors (including KW and RW) to participate in
transactions in which they were conflicted; and

¢. Failing to conserve and protect the Debtors’ cash flow revenues,

146. The Trustee is entitled to recover from KW and RW for the damages caused by
such waste of corporate assets, negligence and gross negligence, which stripped the Debtors of
millions of dollars. KW and RW’s acts, errors and omissions were committed with such

recklessness and wanton disregard to the interests of the Debtors and their creditors as to

21
Case 2:14-cv-00609-LMA-MBN Document 1-3 Filed 03/18/14 Page 22 of 25

constitute gross negligence, for which the Trustee also seeks to recover exemplary and/or
punitive damages.
Count 20: Civil Contempt Pursuant to 11 U.S.C. § 362

147, Paragraphs | through 146 are incorporated by reference as if fully set forth herein.

148. When the Debtors filed for protection under the Bankruptcy Code, their assets
were protected by the automatic stay imposed by the Section 362, the equivalent of an automatic
injunction.

149. That injunction provided that the Defendants were stayed from any act to obtain
possession of property of the Debtors’ estates or of property from the Debtors’ estates or to
exercise control over property of the Debtors’ estates. Additionally, the Confirmed Plan vests
property of the Debtors in the Debtors.

150. As stated more fully above, the Defendants were in wrongful possession of the
property that is the subject of the Transfers, which was under the protection of the Bankruptcy
Code.

151. Civil contempt may be used to compensate for injury resulting from non-
compliance with the automatic stay and violation of the Court's Confirmation Order.

152. The Trustee is entitled to damages for the injuries that resulted from the Debtors’
violation of the automatic stay and the Confirmation Order.

Count 21: Subrogation

153. Paragraphs 1 through 152 are incorporated by reference as if fully set forth herein.

154. The principal obligation under the Mazuma Claim Order is due and eligible.

155. By virtue of the Group Guaranty, Mega Guaranty, Harley Guaranty, Associates
Guaranty, RW/MW Guaranty, and Lease, Group, Mega, Harley, and Associates are subrogated

by operation of law to the rights of Mazuma.

22
 

Case 2:14-cv-00609-LMA-MBN Document 1-3 Filed 03/18/14 Page 23 of 25

156. The Trustee, on behalf of the Debtors’ estates, is entitled to reimbursement from
Bluewater, as principal obligor, for any amount paid by the Debtors under the Mazuma Claim
Order.

157. The Trustee is also entitled to recover by subrogation such attorneys fees and

interest as are owed with respect to the principal obligation under the Mazuma Claim Order.

Count 22: Contribution and/or Reimbursement from Solidary Obligor
138. Paragraphs | through 157 are incorporated by reference as if fully set forth herein.

159. Upon information and belief, RW, MW, Group, Mega, Harley, and Associates are
the only guarantors of the Lease.

160. Accordingly, RW, MW, Group, Mega, Harley, and Associates are solidary
obligors to the extent of the RW/MW Guaranty and Group Guaranty, Mega Guaranty, Harley
Guaranty, and Associates Guaranty.

161. With respect to each other, RW, MW, Group, Mega, Harley, and Associates each
have a virile share obligation for the Mazuma Claim.

162. Group, Mega, Harley, and Associates are subrogated by operation of law to the
Tights of Mazuma under the Lease, RW/MW Guaranty and Mazuma Claim Order.

163. The Trustee, on behalf of the Debtors’ estates, is entitled to contribution and/or
reimbursement from RW and MW, as solidary obligors, for the amount by which the payment
from the Debtors’ estates under the Mazuma Claim Order (as paid under the Confirmed Plan)
exceeds their virile shares of the Mazuma Claim {as established in the Mazuma Claim Order).

164. The Trustee also seeks costs and attorneys fees to the extent allowable under

applicable law.

Count 23: Reimbursement and/or Indemnity from Primary Obligor and Co-Obligor
165, Paragraphs | through 164 are incorporated by reference as if fully set forth herein.

23
Case 2:14-cv-00609-LMA-MBN Document 1-3 Filed 03/18/14 Page 24 of 25

166, Upon information and belief, RW, MW, Group, Mega, Harley, and Associates are

the only guarantors of the Lease.

167. Under the Mazuma Claim Order and Confirmed Plan, the Debtors’ estates are
discharging a debt for which Bluewater is primarily liable.

168, Under the Mazuma Claim Order and Confirmed Plan, the Debtors’ estates are
discharging a debt for which RW and MW are jointly liable as co-obligors with Group, Mega,
Harley, and Associates.

169. The Trustee, on behalf of Group, Mega, Harley, and Associates, is entitled to
reimbursement and/or indemnity from Bluewater for all amounts paid under the Mazuma Claim
Order.

170. The Trustee, on behalf of Group, Mega, Harley, and Associates, is entitled to
reimbursement and/or indemnity from RW and MW for all amounts paid under the Mazuma
Claim Order.

171. The Trustee also seeks costs and attorneys fees to the extent allowable under
applicable law.

Wherefore, the Plaintiff, the Post Confirmation Board, in its capacity as Trustee for the
Wadleigh Litigation Trust, respectfully requests entry of judgment against the Defendants, RW,
KW, MW, Bluewater and Stables as follows:

i. Avoiding the Transfers and awarding a judgment in the amount of the Transfers
against all Defendants, jointly and in solido, under Sections 548, 547, 549, 550,
542, 544, 704, 1106, 1107, and 362 of the Bankruptcy Code;

it. equitably subordinating any claims asserted by Defendants under Section 510 of
the Bankruptcy Code;

iii. Awarding a judgment in the amount of the Transfers against all Defendants,
jointly and in solido, under state law as set forth above;

24

 
Case 2:14-cv-00609-LMA-MBN Document 1-3 Filed 03/18/14 Page 25 of 25

Vi.

Vil.

Dated: September 14, 2012

Awarding a judgment against Defendants RW, MW, and Bluewater in the amount
paid by Group and Debtors under the Mazuma Claim Order and Confirmed Plan
or in the alternative, in the amount paid by Group and Debtors under the Mazuma
Claim Order and Confirmed Plan in excess of the virile share of the Mazuma
Claim as established in the Mazuma Claim Order;

Finding a single business enterprise and applying veil piercing and reverse veil

piercing as set forth above;

Awarding the Trustee its attorney’s fees, costs, and other expenses incurred in this

action; and

Granting the Trustee such other and further relief as the Court deems just and

proper.

Respectfully Submitted,

By:_/s/ C, Davin Boldissar

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ATTORNEYS FOR POST-CONFIRMATION
BOARD OF WADLEIGH ENERGY GROUP,
INC. ET AL., AS TRUSTEE OF THE
WADLEIGH LITIGATION TRUST

25

 
